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Case 1:21-cr-00078-EGS Document 26 Filed 05/19/21 Page 1 of 6

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
v.
JOHN EARLE SULLIVAN,

Defendant.

CRIMINAL NO. 21-CR-78 (EGS)

VIOLATIONS:

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)

18 U.S.C. §§ 231(a)(3), 2

(Civil Disorder)

18 U.S.C. § 1752(a)(1) and § 1752(b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Dangerous
Weapon)

18 U.S.C. § 1752(a)(2) and § 1752(b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Dangerous Weapon)

40 U.S.C. § 5104(e)(1)(A)()

(Unlawful Possession of a Dangerous
Weapon on Capitol Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

18 U.S.C. § 1001(a)(2)

(False Statement or Representation to an
Agency of the United States)

18 U.S.C. § 2

(Aiding and Abetting)

FORFEITURE:
18 U.S.C. § 981; 21 U.S.C. § 853;
and 28 U.S.C. § 2461

INDICTMENT

The Grand Jury charges that:

 

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Case 1:21-cr-00078-EGS Document 26 Filed 05/19/21 Page 2 of 6

COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, JOHN
EARLE SULLIVAN, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in the United States
Capitol without authority and committing an act of civil disorder and engaging in disorderly and
disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, JOHN EARLE
SULLIVAN, committed and attempted to commit an act to obstruct, impede, and interfere with a
law enforcement officer, that is, an officer of the United States Capitol Police Department, lawfully

engaged in the lawful performance of his official duties incident to and during the commission of

_ acivil disorder, and the civil disorder obstructed, delayed, and adversely affected the conduct and

performance of a federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Sections 231(a)(3) and 2)

COUNT THREE
On or about January 6, 2021, in the District of Columbia, JOHN EARLE SULLIVAN,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice

 

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Case 1:21-cr-00078-EGS Document 26 Filed 05/19/21 Page 3 of 6

President and Vice President-elect were temporarily visiting, without lawful authority to do so,
and, during and in relation to the offense, did use and carry a dangerous weapon, that is, a knife.

(Entering and Remaining in a Restricted Building or Grounds with a Dangerous
Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and

1752(b)(1)(A))
COUNT FOUR

On or about January 6, 2021, in the District of Columbia, JOHN EARLE SULLIVAN,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions, and, during and in relation to the

offense, did use and carry a dangerous weapon, that is, a knife.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(2) and

1752(b)(1)(A))
COUNT FIVE

On or about January 6, 2021, within the District of Columbia, JOHN EARLE
SULLIVAN, did carry and have readily accessible, a dangerous weapon, that is, a knife having a
blade longer than three inches, on the United States Capitol Grounds and in any of the Capitol
Buildings.

(Unlawful Possession of a Dangerous Weapon on Capitol Grounds or Buildings, in
violation of Title 40, United States Code, Section 5104(e)(1)(A)G))

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Case 1:21-cr-00078-EGS Document 26 Filed 05/19/21 Page 4 of 6

COUNT SIX
On or about January 6, 2021, in the District of Columbia, JOHN EARLE
SULLIVAN, willfully and knowingly engaged in disorderly and disruptive conduct in any of the
Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, JOHN EARLE SULLIVAN,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

COUNT EIGHT
On or about January 11, 2021, in the District of Columbia and elsewhere, JOHN EARLE
SULLIVAN, did willfully and knowingly make materially false, fictitious, and fraudulent
statements and representations in a criminal matter in the District of Columbia within the
jurisdiction of the executive branch of the Government of the United States, by stating to a Special
Agent of the Federal Bureau of Investigation that he did not have a weapon, including a knife,
while inside the United States Capitol Building on January 6, 2021 in the District of Columbia.

The statements and representations were false because, as JOHN EARLE SULLIVAN then and

 

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Case 1:21-cr-00078-EGS Document 26 Filed 05/19/21 Page 5 of6

there knew, he did have a knife on his person while inside the United States Capitol Building on

January 6, 2021 in the District of Columbia.

(False Statement or Representation Made to an Agency of the United States, in
violation of Title 18, United States Code, Section 1001(a)(2))

FORFEITURE ALLEGATION
1, Upon conviction of the offense alleged in Count One of this Superseding
Indictment, JOHN EARLE SULLIVAN, the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code,
Section 2461, any property, real and personal, which constitutes or is derived from proceeds
traceable to the commission of the offense alleged in Count One. The United States will also seek
a forfeiture money judgment for a sum of money equal to the value of any property, real and
personal, which constitutes or is derived from proceeds traceable to the commission of the offense
alleged in Count One.
2. The United States will also seek forfeiture of the following specific property upon
conviction of the offense alleged in Count One:
a. $89,875.00 in U.S. currency in a JPMorgan Chase bank account ending in 7715,
in the name of John E. Sullivan; and
b. $1,000.00 in U.S. currency from Venmo (a Paypal, Inc. entity) account ending
in 2020, with username @insurgenceusa, which is connected to the JPMorgan
Chase bank account ending in 7715 in the name of John E. Sullivan.
3. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of JOHN EARLE SULLIVAN, the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
 

Case 1:21-cr-00078-EGS Document 26 Filed 05/19/21 Page 6 of 6

c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty;
the defendant shall forfeit to the United States, pursuant to Title 21, United States Code, Section
853(p), any other property of the defendant up to the value of the property described above.

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(C);
Title 21, United States Code, Section 853(p); Title 28, United States Code, Section
2461(c))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.

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